









Dismissed and Memorandum Opinion filed March 30, 2006









Dismissed and Memorandum Opinion filed March 30, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00015-CV

____________

&nbsp;

TONY HERNANDEZ
AND GARY GIBSON, Appellants

&nbsp;

V.

&nbsp;

NATIONAL RESTORATION TECHNOLOGIES,
L.L.C., TRAVELERS PROPERTY CASUALTY INSURANCE COMPANY AND TRAVELERS LLOYDS OF
TEXAS INSURANCE COMPANY, Appellees

&nbsp;



&nbsp;

On Appeal from the
55th District Court

Harris County, Texas

Trial Court Cause No.
02-48769

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an attempted appeal from a
judgment signed October 3, 2005.&nbsp;
Appellant filed a timely motion for new trial on November 9, 2005.&nbsp; Appellant=s notice of appeal
was filed January 3, 2006.








When appellant has filed a timely motion
for new trial, motion to modify the judgment, motion to reinstate, or request
for findings of fact and conclusion of law, the notice of appeal must be filed
within ninety days after the date the judgment is signed. See Tex. R. App. P. 26.1(a).

Appellant=s notice of appeal
was not filed timely. A motion for extension of time is necessarily implied
when an appellant, acting in good faith, files a notice of appeal beyond the
time allowed by rule 26.1, but within the fifteen-day grace period provided by
Rule 26.3 for filing a motion for extension of time.&nbsp; See Verburgt v. Dorner, 959 S.W.2d
615, 617-18 9 (1997) (construing the predecessor to Rule 26).&nbsp; However, the appellant must offer a
reasonable explanation for failing to file the notice of appeal in a timely
manner.&nbsp; See Tex. R. App. P. 26.3, 10.5(b)(1)(C); Verburgt,
959 S.W.2d at 617-18.&nbsp; Appellant=s notice of appeal
was filed within the fifteen-day period provided by rule 26.3

On March 2, 2006, notification was
transmitted to all parties of the Court=s intent to
dismiss the appeal for want of jurisdiction.&nbsp;
See Tex. R. App. P. 42.3(a).&nbsp; Appellant filed no response.

Accordingly, the appeal is ordered
dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment
rendered and Memorandum Opinion filed March 30, 2006.

Panel consists
of Justices Hudson, Fowler, and Seymore.





